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                                UNITED STATES DISTRICT COURT
                                   DISTRICT OF MAINE

JESSE MURCHIE,                            )
                                          )
       and                                )
                                          )
DEANNA MURCHIE,                           )
                                          )
                       Plaintiffs         )
               vs.                        )
                                          )
EDWARD DUBIE, in his Personal and         )
Professional Capacity, as Officer, Fort   )
Fairfield Police Department,              )
                                          )
RYAN EAGLES, in his Personal and          )
Professional Capacity as Officer, Fort    )
Fairfield Police Department,              )
                                          )
SHAWN NEWELL, in his Personal             )
And Professional Capacity as Chief,       )   DOCKET NO. CV-2020-
Fort Fairfield Police Department,         )
                                          )
FORT FAIRFIELD POLICE                     )
DEPARTMENT, Fort Fairfield,               )
                                          )
CITY OF FORT FAIRFIELD,                   )
James Riser, in his Personal and          )
Professional Capacity as Fort Fairfield   )
City Manager,                             )
                                          )
JOHN DOE,                                 )
                       and                )
                                          )
JANE DOE,                                 )
                                          )
                       Defendants         )


                                      COMPLAINT
                             (WITH DEMAND FOR JURY TRIAL)
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                                        I.      The Parties

1.       Plaintiffs are husband and wife and residents of Fort Fairfield, County of Aroostook,

State of Maine.

2.       At all times pertinent herein, Defendants are all Fort Fairfield agencies, departments,

supervisors, policy makers, or officers, located in Fort Fairfield, Maine.

3.       The City of Fort Fairfield is a Governmental body and James Riser as its City Manager,

and the Fort Fairfield Police Department by Chief Shawn Newell, are located in Fort Fairfield,

Maine, City of Fort Fairfield and Police Officers Edward Dubie and Ryan Eagles of the Fort

Fairfield Police Department, are located in Fort Fairfield, Maine.

4.       John Doe and Jane Doe are named as Defendants as Plaintiffs and their agents have not

been able to obtain all discovery on a voluntary basis, and they are therefore listed out of an

abundance of caution, to the extent viable Defendants are yet unknown.

                       II. Jurisdiction and Venue; Demand for Jury Trial

5.       The Court has jurisdiction pursuant to 28 USC §1331, and may exercise supplemental

jurisdiction over the asserted State Law claims pursuant to 28 USC §1367(a).

6.       In addition, claims are made for violations of 42 USC §§1983, 1985(3), 1986, 1988; and

Title II of the Americans with Disabilities Act (ADA), 42 USC §§12132, et seq; and Section 504

of the Rehabilitation Act, 29 USC §794, as well as discrimination under Maine Law, Maine

Human Rights Act.

7.       Venue lies in the United States District Court for the District of Maine sitting at Bangor,

Maine, pursuant to 28 USC §1391(b)(1),(2) and local Rule 3(b).

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8.       Trial by Jury is demanded.

                           III. General Allegations-Background Facts


9.       Plaintiff alleges and realleges Paragraphs 1-8, of this Complaint, and makes them a part

of this Section III.

10.      On or about 08/27/2018-two (2) Fort Fairfield Police Officers believed to be Defendants

Dubie and Eagles, and entered on Plaintiff’s property in Fort Fairfield, Maine, taking photos,

stating “they were on a fact-finding mission, looking for drugs.”

11.      On or about 09/01/2018, two (2) Fort Fairfield Police Officers believed to be Defendants

Dubie and Eagles, backed into Plaintiff’s driveway, parked there and left when Deanna arrived

home; the Chief of Police Shawn Newell said “Police don’t have to follow no trespass signs.”

12.      The two Police Officers said “we don’t have to tell you anything”, Plaintiff said, “you’re

harassing me”; Officer Eagles chuckled and hung up the phone.

13.      About 09/10/2018 the Fort Fairfield Police by officers Dubie and Eagles stopped Jesse

Murchie on a road, kept him there for “window tint” (he has a certificate) and loud exhaust;

(Court dismissed that charge on 01/04/2019); the police kept him there for 45-minutes.

14.      On 10/07/2018, a) the Fort Fairfield Police with Defendants Dubie and Eagles, were near

Plaintiff’s house, when they hailed Jesse Murchie for speeding and squealing tires and loud

exhaust; Plaintiff Jesse Murchie then turned his car and returned to his house, as he was afraid of

the police, based on their recent harassment of him; b) They falsely accused Jesse Murchie of

assaulting officers or resisting arrest; c) Defendant Dube threatened Plaintiff Deanna Murchie

and threatened to call DHHS while she was recording the incident in the presence of Defendant

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Eagles, who did nothing to object to Defendant Dubie’s threat, nor did he intervene; d) They

made threats against Jesse Murchie’s parents; e) They implemented the improper and excessive

use of tasers against Jesse Murchie; f) They used excessive force against Jesse Murchie including

knee to back acts causing Jesse’s inability to breathe and back and rib fractures and then

shackling him, among other acts of violence; g) Defendant Officer Dubie said Jesse was

“paranoid”, yet gave no medical/mental health assistance or treatment, in violation of 34-B

M.R.S.A. §3081; Title II, Americans with Disabilities Act, and §504 of        the Rehabilitation Act

as in the presence of Officer Eagles; h) they ordered warrantless forced penile catheterizations of

Jesse and illegal strip searches and body cavity searches of him at the hospital; i) at no time were

reasonable or adequate warnings given to Jesse Murchie by Defendants.

15.    During the Officer Dubie Body Cam recording of the 10/07/2018 incident at Plaintiff’s

home, Defendant Dubie did the following, all in the presence of Defendant Eagles:

               a.      He gave no Miranda to Jesse Murchie;

               b.      He had no search warrant;

               c.      He used a Taser multiple times against Jesse Murchie;

               d.      While Jesse Murchie was not resisting, yet the Defendant Officer Dubie
                       was yelling, “You’re resisting”, as a cover-story the officer to justify his
                       actions;

               e.      He said to Jesse Murchie, “your father’s getting in trouble with the Feds”;

               f.       He threatened to Deanna Murchie, “get in the house, I’m calling DHHS
                       on your kids”;

               g.      He started searching Plaintiff Jesse Murchie’s phone;




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          h.    When Jesse Murchie said to Defendant Dubie, “I can’t breathe”, the
                Defendant said “You’re being combative”, while the officers had his knee
                held against his back as Jesse was prone face down on the ground;

          i.    Defendant Officer Dubie said, “call for a dog”;

          j.    Defendant Dubie then said to Jesse Murchie, “You’re an addict”;

          k.    He then said, “He’s paranoid”, referring to Jesse Murchie;

          l.    Jesse Murchie said to Defendant, “You won’t leave me alone”;

          m.    Officer Dubie said, “You M-F—ked me all night”;

          n.    Defendant said, “Proactive police”;

          o.    Officer Dubie threatened Jesse Murchie with, “Your dad will go to jail-I’ll
                put him in handcuffs”;

          p.    He said, “Funky Box,” and searched the car even without a warrant;

          q.    There was no kicking by Jesse Murchie, contrary to the police report;

          r.    Jesse Murchie, was “Peeing himself at the scene”;

          s.    The Defendant Officer Dubie said, “Word on the street, he’s a meth dealer
                and user”;

          t.    Defendant Dubie said, “I always get my man”;

          u.    There was no medical care provided even though an ambulance
                was present; Defendant Dubie refused it and held Jesse Murchie at the
                scene for a tow truck, providing no medical care in an intentional
                way, with deliberate indifference, resulting in the willful and malicious
                denial of medical and mental health care to Jesse Murchie; Defendant
                Eagles was present and did not intervene or prevent the wrongdoing;

          v.    Defendant Dubie also discussed a search warrant, but chose not to request
                one;

          w.    Defendant Dubie said to Defendant Eagle, “You know there are going to
                be repercussions from this”;

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               x.     Defendant Dubie stated, “My arm, knee, low back hurt-going to the
                      hospital”;

               y.     Dubie said, “Waiting for a wrecker” and denied Jesse Murchie medical
                      care;

               z.     Defendant Dubie said to Defendant Eagle, “I would have been injured, if
                      you weren’t here”;

               aa.    While waiting, Defendant Dubie checked Jesse in the police department
                      car, said “he’s still breathing”;

               bb.    Defendant Dubie said, “They’ll lodge complaints”;

               cc.    Defendant Dubie said to Defendant Eagle, “He’s assaulting you”;

               dd.    Defendant Dubie said to Defendant Eagle, “Trying to kick at me in the
                      car”;

               ee.    During this incident, Defendant Dubie was yelling, out of control, caused
                      escalation of events, made misstatements and misrepresented factual
                      occurrences, as a cover-up story; he was trying to elicit Eagle as a cover-
                      up/conspiracy.

               ff.    All traffic infraction charges were dismissed on 03/01/2019.

               gg.    The officers were accusing him of insolent and disrespectful behavior and
                      they retaliated against him therefor;

16.    At the Northern Light A.R. Gould hospital, Officer Dubie said “I’m shutting this off”, he

then turns off the camera, and pushes Jesse Murchie to the ground and says, “what are you going

to do-run?”, during which a male nurse was present.

17.    In ER, Defendant Dubie was talking to Jesse Murchie, but gave No Miranda; there was

much interrogation of Jesse Murchie regarding drugs; Dr. Goth, the attending physician, told the

officers you need a warrant; all of this occurred with significant delays in police action from the

initial arrest; Officer Eagles was present and did not intervene or prevent the wrong doing.

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18.    On 10/07/2018 at the A.R. Gould Hospital, Officers Dubie and Eagles ordered Dr. Goth,

and several nurses to conduct a forced, warrantless penile catheterization of Jesse Murchie for a

urine sample and strip search and body cavity search; the officers made threats to Jesse Murchie

regarding his taking the test and used coercion against him; at no time was a blood test requested,

nor a warrant obtained and any strip search and body cavity search or warrantless penile

catheterization were without Murchie’s voluntary, free consent or agreement and were coerced

by police.

19.    Peter Goth, M.D., in his “Emergency Department Documentation” stated under

“Physician’s Exam: “The patient is awake, alert and oriented and does not appear intoxicated or

impaired.”

20.    Any urine test was performed for police investigation purposes and not for medical care

or necessity, and ordered and demanded by Defendants Dubie and Eagles.

21.    Two nurses held his arms, he was in an upright sitting position, a nurse unzipped his

pants and exposed his penis, while another nurse forced the 1st catheter into his body, which

drew blood and was unsuccessful; a second catheterization occurred and a urine sample was

obtained; all the while the nurses were apologizing to him, with the police officers present,

watching and coercing Jesse into the procedure, which also constituted an illegal strip search and

body cavity search.

22.    Jesse Murchie has suffered urological related injuries as a result and is treating for those

injuries, both physical and psychological.

23.    Chief Newell admitted to Jesse Murchie’s parents, “Officer Dubie tends to escalate

matters, not deescalate them;” yet the Chief also says “No problems with police actions;” Yet,
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Defendant Newell allowed the policy and practice to occur and be used by the officers as a

custom and practice of the Fort Fairfield Police Department.

24.    Chief Newell told Plaintiff’s mother, “Jesse was under the influence of amphetamines,

marijuana,” which statement constitutes HIPPA Violations and Title 16 Violations, M.R.S.A.

25.    On or about 10/09/2018, Defendant Officer Dubie intentionally, deliberately and

maliciously made false report to DHHS against Plaintiff; DHHS found nothing wrong.

26.    On or about 11/23/2018, Plaintiff’s employer advised of his pending termination of
employment due to this incident.
27.    On 12/01/2018, Plaintiff was terminated from assistant manager job at Doc’s.

28.    About 11/15/2018, without permission, the police were in Plaintiff’s backyard and near

marsh area; probably Officer Eagles was laying by Plaintiff’s fireplace, and there were snow

footprints in their yard; Chief Newell stated to Jesse Murchie they were investigating an

apartment behind them; Chief Newell again refused to stop the Defendant officers’ illegal acts

against Plaintiffs and allowed them to be used as a custom and practice of the Fort Fairfield

Police Department.

29.    On information, the police have followed Jesse Murchie’s father, Officer Kevin Murchie

of U.S. Customs and Border Protection (CBP), i.e., “PD has followed him quite closely either to

work or the store.”

30.    On or about 01/02/2019, Officer Dubie stopped Plaintiff at Rite Aid parking lot while

Jesse Murchie was using his cell phone to call his wife; Jesse Murchie had pulled off the road to

do so and was plugging in phone.




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31.    Plaintiff Jesse Murchie asked “what are you doing?” Officer Dubie replied to him,

“suspicious vehicle in parking lot”; Jesse Murchie said to Defendant Dubie, “I’m plugging in

my phone to call my wife; you know its me and my car,”; Officer Dubie advised Jesse Murchie,

“I want to search your car”; Jesse Murchie told Defendant Dubie, “No, I don’t feel comfortable

with just you-get another officer because you hurt me, tased me, beat me up and told lies; I spoke

to the Chief about you”; to which Officer Dubie replied, “The Chief’s going to believe you?”;

Jesse Murchie than decided and advised Officer Dubie, “I’m going to record this”; Defendant

Officer Dubie then left.

32.    Jesse Murchie was finally charged with failure to stop; refusing to submit to arrest, and

pled guilty in State Court; all other charges were dismissed, on 10/09/2018.

33.    Chief Newell refused Plaintiff’s requests to investigate these incidents, has taken

intentional and deliberate action to allow the customs and practices of the officers to be used and

condones their actions.

34.    Defendant James Riser as City Manager, was advised by Plaintiff and Plaintiff’s family

of the wrongdoing of Newell, Dubie and Eagles, and their violation of Plaintiff’s rights, but he

ignored their pleas and condoned their misconduct as an official policy of the City of Fort

Fairfield and Fort Fairfield Police Department, and refused to investigate the wrongdoing.

35.    The Defendants conspired against the Plaintiff to deprive him of his rights, peace of

mind, reputation, privacy, health and economic security, and committed the wrongs against him,

all with knowledge of their improper actions and conduct, which caused the Plaintiff herein the

damages as aforesaid.

36.    The Defendants are vicariously liable for the damages to Plaintiff.
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37.    As a direct and proximate result of the malicious actions of the Defendants, and their

breach of duty to Plaintiff, the Plaintiff was severely damaged, as aforesaid.

38.    Plaintiff Jesse Murchie, requests Judgment as follows against Defendants:

       a.      The Defendants be required to pay Plaintiff’s general damages, including

       damages for violations of his Constitutional rights, assault/battery, pain and

       suffering, permanent impairment, and intentional and negligent infliction of

       emotional distress, and violations of other listed causes of actions, in the amount

       of $5 million dollars.

       b.      The Defendants be required to pay Plaintiff’s special damages, including but not

       limited to lost wages, earning capacity, property damages, medical expenses, and

       attorneys’ fees, all in a sum to be ascertained at the time of trial.

       c.      That Defendants be required to pay Plaintiff exemplary and punitive damages in a

       sum $10 million dollars.

       d.      With respect to all claims, the Defendants be required to pay Plaintiff’s attorneys’

       fees, pursuant to 42 U.S.C. §1988 and Title 5 M.R.S.A. §4681 et seq.

       5.      The Defendant be required to pay Plaintiff the cost of suit herein occurred.

       e.      Permanently enjoin the Defendants from further violating Plaintiff’s

       Constitutional rights and prohibit them from further interference of the

       rights of other citizens, including action involving assaults, shackling, tasing, back

       kneeling, denying medical care and use of strip search and forced warrantless penile

       catheterizations, of a citizen suffering from mental disabilities or related cognitive

       injuries.
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        g.      That the Plaintiff have such other and further relief as the Court may deem just

        and proper under all of the circumstances.



                                          COUNT I
                                 (42 USC §1983-All Defendants)

39.     Plaintiffs allege and reallege Paragraphs 1-38 in the foregoing, and makes them a part of

this Count I.

40.     Jesse Murchie had a clearly established right under the Fourth and Fourteenth

Amendments to the United States Constitution not to be assaulted, battered, tased, deprived of

medical care and forced to undergo a warrantless forced penile catherization, strip search and

body cavity search, by Defendants, nor denied his rights to services, aids and care for his

physical, medical and mental disabilities.

41.     At all times relevant to this Complaint, Defendants were acting under the color of law,

statute, ordinance, regulations, actions or usage of the State of Maine or the City of Fort

Fairfield.

42.     The Defendants’ assault, battered, tased, denied medical services, forced a warrantless

penile catheterization of Plaintiff, strip searched and body cavity searched him, and were acting

as agents of the Police and Fort Fairfield, all of which constituted an excessive and

unconstitutional use of force.

43.     By the actions described above, the Defendants have deprived the Plaintiff of his clearly

established rights guaranteed by the Fourth and Fourteenth Amendments to the        Constitution

of the United States, to be free from an unreasonable search and seizure, and excessive use of

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force and deprivation of rights under the Constitution and Laws of the State of Maine.

44.    The Defendants, by and through their agents, knowingly and with deliberate indifference

and reckless disregard to the constitutional rights of the Plaintiff, maintained and permitted

official policies and customs and practices of permitting the occurrence of the types of wrongs

set forth hereinabove.

45.    These policies and/or customs and practices included, but not limited to, assault, battery,

knee to back techniques, tasing, being deprived of medical care and forced to undergo a

warrantless forced penile catherization, strip searches and body cavity searches, by Defendants,

and denied his rights to services, aids and care for his physical, medical and mental disabilities,

and the treatment of arrestees, all without warnings, all condoned by Defendants Newell and

Riser, and condoning the actions of Defendants Dubie and Eagles, as part of the Fort Fairfield

Police Department and the City of Fort Fairfield custom and practice, and failure to train or

investigate wrongdoing, including prior practice of trespass and harassment of Plaintiffs by

Defendants on their property.

46.    Also, the Government policies were the moving force behind their actions, including, but

not limited to, the purchase, transportation, storage, preparation, practice and use of tasing,

denial of medical care and penile catheterizations on a citizen of Maine, and subsequent thereto,

using Plaintiff’s incident as a training exercise and/or using Plaintiff as a human guinea pig to

effect their tasing and then first fully forced, warrantless penile catheterization of a man with a

mental disability.

47.    In addition, Defendants, Chief of Police, Shawn Newell and Jim Riser, City Manager of

Fort Fairfield, knew or should have known of the customs and practices which led directly to the
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injuries sustained by the Plaintiff, and in violation of his clearly established rights, and said

Defendants were directly involved with the actions and approved and           sanctioned the same,

including the failure to stop the officers, properly train then and investigate their misconduct.

48.    The Defendants all failed to consider the following:

       a.      The facts and circumstances of this case, including the level of crime

               alleged, and its severity,

       b.      whether split-decision making was involved or delays were available to police,

               the mental health of the arrestee, including his bizarre or irrational actions,

               confirming his lack of mental competence, alternative methods of less severe

               and drastic deadly force of a nature available to Law Enforcement or medical

               personnel to otherwise effect an arrest or obtain evidence,

       c.      and the totality of circumstances involved in the use of force by attacking and

               forcing a warrantless penile catheterization of Jesse Murchie, rather than waiting

               for assistance from mental health professionals, or other experts to analyze and

               decide the least excessive force method to use and without any warning, including

               a warrant for a blood test;

       d.      after the arrest, knowing Plaintiff was injured, including three (3) fractured ribs,

               multiple contusions, fractured vertebrae, taser injuries, a spleen injury, and knee

               injuries, and shackling all without adequate warnings and without imminent

               threat, denying medical care and then forcing the warrantless penile

               catheterization of him and strip searches and body cavity searches;

        e.     under all the circumstances and available resources, and less drastic and
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           confrontational tactics, and de-escalation methods should have been used.

     f.    Further, the Government Agencies involved, by using excessive force and

           warrantless penile catheterization to effect arrests or evidence gathering of a

           mentally incompetent person, did through its policies, approvals, practices,

           training and use thereof and in particular failing to properly train the police officer

           Defendants, maintained and condoned a custom and practice of depriving

           individuals of their Constitutional Rights by their traditions, policies, ordinances,

           statutes, manuals and actions, promulgated by Law Enforcement of the agencies

           and Governments and use of the third party health care providers involved.

     g.    The Defendants did, acting under color of law, and in their official capacities, and

           individually, conspire to interfere with Plaintiff’s civil rights and individual

           liberties, substantive due process, personal privacy, and right to equal protection

           of the law as found in 42 U.S.C. §1983 and the rights secured to him by the

           United States Constitution and the Constitution and laws of the State of Maine

           and conspired to inflict a wrong against and injury upon Plaintiffs.

     h.    Further, the Defendants and Government Agencies involved failed to issue or use

           widely accepted and non-lethal means by which to apprehend Jesse Murchie, a

           mentally ill or non-cognitive person, such as mental health experts, or other non-

           deadly means of physical force, including warranted blood tests, and as is part of

           the training of the officers and use of medical personnel as involved, also did not

           act in accordance with the “protocol for the reporting and investigation of the use

           of deadly force,” in the Maine Law Enforcement Officers Manual, and other
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           applicable standards of care, and other Standard Operating Procedures and

           standards and medical protocol for warrantless forced penile catheterizations.

     i.    The Defendants used Excessive Force a) by use of Tasers, b) use of knees

           to the back of Jesse Murchie resulting in three (3) fractured ribs, and vertebrae

           injuries, and spleen and knee injuries, c) failure to consider less destructive or

           invasive means of effecting the arrest or custody of Jesse Murchie, d) failure to

           consult with a urologist or other expert regarding a forced, warrantless penile

           catheterization or first use of a warranted blood test, e) failure to consult with

           EMTs before delaying transport to the hospital, f) failure to consider damage and

           injuries to Jesse Murchie; g) failure to consider injuries to Jesse Murchie

           including concussion, fractured ribs, and vertebrate, disorienting effects of Tasers

           and spleen and knee injuries on him, and his subsequent acts after handcuffing

           and shackling him to understand his reactions rather than delaying treatment, h)

           failure to consult and consider mental health experts to use alternative means of

           effecting an arrest or medical care and tests, i) failure to use deescalating use of

           force for a mentally ill arrestee; j) converting a T.34-B matter into a

           training exercise for Fort Fairfield Police;

     j.    Defendants illegally trespassed on Plaintiff’s property and/or caused the sexual

           assault on his person by the warrantless, forced penile catheterization, strip search

           and body cavity search.

     k.    Defendants had followed a pattern of trespass and harassment of Plaintiffs over a

           substantial period of time.
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49.    Such errant policies and/or customs and practices of the Defendants were the moving

force behind the violation of Plaintiff, Jesse Murchie’s Fourth and Fourteenth Amendment rights,

and the Defendants, and each of them, are liable for all of the injuries sustained by Plaintiff, as

set forth hereinabove.

50.    A reasonable officer would not discharge his taser, use knee to back techniques to injure,

shackle an injured person, thereafter an injured person or his family, nor deny medical care, nor

force a warrantless penile catheterization, strip search and body cavity search, because of

insolence or retaliation as punishment, but Defendants did so here.

51.    The officers used excessive and significant force by tasing Plaintiff, injuring him by

kneeling on his back and causing severe injuries, shackling him, denying medical care, forcing a

warrantless penile catheterization, and strip search and body cavity search, all of which violated

the Fourth Amendment because Plaintiff was subdued, offered minimal if any nonviolent and

stationary resistance, if at all, posed no safety threat to the officers and was in need of health-

improving treatment rather than life-threatening activity.

52.    The police improperly reacted violently to Plaintiff’s non-violent refusal if any occurred,

to follow police commands.

53.    In October 2018, the clearly established law prohibited tasing a subdued, injured and/or

mentally ill small male offering only non-violent, stationary resistance, if at all, while the larger

Officer Dubie knelt on his back and he complained he could not breathe, and suffered multiple

back/rib fractures, in the process, and then shackling him, threatening him and his family,

denying medical care for the injuries or forcing a warrantless penile catheterization for police

investigation purposes, including a strip search and body cavity search, as well as prior
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trespassing and harassing of Plaintiffs on their property.

54.    A reasonable officer or person would have known that tasing Murchie and kneeling on

his back, causing injuries and inability to breathe, shackling him, denying medical care and

forcing a warrantless penile catheterization and strip search and body cavity search, all without

warnings, were all considered violations under the circumstances and violations of his

Constitutional Rights.

55.    An objectively reasonable police officer, Government official or their agents or

employees in each of the Defendants positions, would have understood that he/she were violating

Mr. Murchie’s clearly established Fourth and Fourteenth Amendment rights.

56.    The officers and officials’ conduct were so deficient that no reasonable officer or person

could have made the decision to assault, batter, tase or force the penile catheterization and

searching of Jesse Murchie, under the circumstances.

57.    Each of the officers’ and persons’ acts and omissions before, during and after the

activities, constitute a conspiracy against Jesse Murchie, and were malicious and outrageous, or

were so outrageous that malice can be implied and considered more than a reckless disregard

and deliberate indifference for Mr. Murchie; and Defendants knew of the dangers and protected

themselves, rather than Jesse Murchie, all without adequate warnings to Mr. Murchie.

58.    As a direct and proximate result of the Defendants’ assault, battery, improper knee to

back techniques, threats to him and his family, illegal tasing, strip searching, body cavity search,

sexual assault, shackling, denial of medical services and forced penile catheterization and use of

excessive force, including kneeling on Plaintiff’s back, causing fractures and Plaintiffs inability

to breathe, Mr. Murchie was deprived of the rights, privileges and immunities secured by the
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United States Constitution, and he sustained life-threatening and permanent injuries, including

physical, emotional and neuro-psychological, substantial pain and suffering, loss of enjoyment of

life and recreational activities, embarrassment, humiliation, torture and invasion of privacy,

incurred medical costs, loss of earning capacity and he suffers a permanent impairment, all of

which will continue in the future.

          WHEREFORE, Plaintiff, Jesse Murchie, moves that this Honorable Court will grant

Judgment in his favor, for compensatory damages of $5 million, and punitive damages of $10

million, against Defendants in an amount that is just and reasonable, including an award of

attorneys’ fees pursuant to 42 USC §1988, and award him any further relief it deems just and

proper.

                                          COUNT II
                          (Conspiracy Under 42 U.S.C. §§1985(3), 1986)

59.       Plaintiff alleges and realleges Paragraphs 1-58 in the foregoing, and makes them a part of

this Count II.

60.       The Defendants did, acting under color of law, and in their official capacities, and

individually, conspire to interfere with Plaintiff’s civil rights and right to his liberty interests,

subsequent due process, personal privacy, equal protection under the law, as found in 42 U.S.C.

§§1985(3),1986, and the rights secured to him by the United States Constitution and the

Constitution and laws of the State of Maine.

61.       The actions of the Defendants, officers, and supervisors, and their omissions, before,

during and after the attacks including tasing, back kneeling, assaulting, shackling, strip searching

and forced penile catheterization of Jesse Murchie’s person, and threatening him and his family,

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and trespassing and harassing Plaintiffs at their home, constituted a conspiracy against Jesse

Murchie, in violation of 42 USC §1985(3), 1986.

62.    Further, any of the officers and personnel having knowledge that wrongs against Jesse

Murchie were occurring, including §1985 violations, with the power to prevent or aid against the

wrongs, and neglecting to do so, are guilty of the violations as well.

63.    The officers and Defendants knew that Jesse Murchie was mentally incompetent, or a

mentally ill person, and not capable of making informed choices, acting in a bizarre manner, and

that he was suffering some kind severe mental breakdown, which as an white male, placed him

in a protected class-base of protected persons, and here the medical personnel had a tacit

understanding that they would carry out the attacks, tasing, back kneeling, shackling, denial of

medical care, strip searching, body cavity searching and forced warrantless penile

catheterization, notwithstanding other less forceful, harsh and lethal means available to them,

including warranted blood tests.

64.    The officers and Defendants knew or should have known, Jesse Murchie was, concussed,

injured and unable to cognate or understand his whereabouts or commands, and not capable of

making informed choices, which as a mentally ill, white male, placed him in a protected class-

base of protected persons, and here the officers and medical personnel had a tacit understanding

that they would carry out the attacks and penile catheterizations, notwithstanding other less

lethal, forceable or harsh means available to them, including warranted blood tests.

65.    Defendants were motivated by the class-based invidious discrimination and animus

behind the conspiracy actions, due to Jesse Murchie’s class-based status as a white male with

severe mental health disorders, and inability to comprehend, all of which involved the
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conspiracy, for the purpose of depriving Jesse Murchie of due process and equal protection and

equal privileges and immunities, involving an overt act or acts in furtherance of the conspiracy,

resulting in severe injury to Jesse Murchie.

66.    Each of the officers’ acts and omissions before, during and after the sexual assaults and

forced, warrantless penile catheterizations, constitute a conspiracy against Jesse Murchie and

were malicious and outrageous, or were so outrageous that malice can be implied                   and

considered more than a reckless disregard and deliberate indifference for Mr. Murchie; as

Defendants knew of the dangers and protected themselves, rather than Murchie, all without

warnings to Mr. Murchie.

67.    To the extent law enforcement and other personnel as agents extended or exacerbated the

situation to create and/or use the incident as a training exercise for police and others, is a further

violation of Jesse Murchie’s rights, and further evidence of Defendants’ wrongdoings.

68.    The police and other personnel became impatient, angry, upset, unwilling to wait for a

Mental Crisis Team, or a search warrant, and because Jesse Murchie was exercising his         right to

protect himself or exercise his Constitutional rights, exacerbated their wrongs against Jesse

Murchie and to the point of attacking him as a retaliatory method and as a form of humiliation

and punishment of him for insolent and disrespectful behavior, as Defendant officers perceived

those actions.

69.    It was not objectively reasonable to use such force and force of warrantless, penile

catheterizations against Jesse Murchie, and he had a liberty interest in his bodily integrity     and

rights to substantive due process and privacy.

70.    The Defendants did, acting under the color of law in their official capacities, and
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individually, violated those rights.

71.      The Defendants, each of them in their official capacities, and individually, caused the

Plaintiff harm by the said violations.

72.      The Defendants, each of them in their official capacities, and individually, were

deliberately indifferent to the rights of the Plaintiff under the Fourteenth Amendment of the

United States Constitution providing him rights of due process to bodily integrity.

73.      Further, the Defendants were deliberately indifferent to the Plaintiff’s serious medical

needs.

74.      Such deliberate indifference also violated the Plaintiff’s right to due process under the

Fourteenth Amendment to the United States Constitution.

75.      As a direct and proximate result of the actions of the Defendants’ and their attacks,

tasing, back kneeling, denial of medical care and strip searching, body cavity searching, use of

excessive force and subsequent forced, warrantless, penile catheterizations of him, Mr. Murchie

was deprived of the rights, privileges and immunities secured by the United States Constitution,

and he sustained life-threatening and permanent injuries, both physical, emotional and neuro-

psychological, substantial pain and suffering, embarrassment, humiliation, invasion of privacy,

loss of enjoyment of life and recreational activities, incurred medical costs, loss of earning

capacity and he suffers a permanent impairment, all of which will continue in the future.

         WHEREFORE, Plaintiff, Jesse Murchie, moves that this Honorable Court will grant

Judgment in his favor, for compensatory damages of $5 million, and punitive damages of $10

million dollars, against Defendants in an amount that is just and reasonable, including an award

of attorneys’ fees pursuant to 42 USC §1988, and award him any further relief it deems just and
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proper.

                                          COUNT III
  (Disability Law Violation-Title II of the Americans with Disabilities Act (ADA), 42 USC
          §§12132, et seq, and Section 504 of the Rehabilitation Act, 29 USC §794)

76.       Plaintiff alleges and realleges Paragraphs 1-75 in the foregoing, and makes them a part of

this Count III.

77.       The interaction between Defendants and Jesse Murchie, was informed and influenced by

his mental disability and post-attack pain, concussed state and non-cognitive state; in particular,

the warrantless entry into Plaintiff’s car and to employ a forced penile catheterization of him

with an inadequate and improper method, failure to provide him proper services and medical

care, all without adequate warnings, violated the Fourth, Eight and Fourteenth Amendments and

Federal Disability Discrimination Law.

78.       Also, the Defendants were unjustified and unwarranted in entering his property or

vehicle, using excessive force or causing a sexual assault, and setting off the violent chain of

events resulting in provocation escalation, nor in their prior trespassing and harassing of

Plaintiffs at their home.

79.       The Defendants actions constituted an intentional discrimination or deliberate

indifference in the providing of medical care and treatment of the Plaintiff; Plaintiff, by   reason

of his mental and physical disabilities, was excluded from participation in, or deprived the

benefits of, the services, programs, or other activities of a public entity, or otherwise subjected to

discrimination by the Defendants, that their conduct was      intentional and that the Defendants

exclusion, denial or discrimination and deliberate     indifference against Plaintiff, proximately

cause him damages.
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80.    While Defendants executed a discriminatory policy against Mr. Murchie, several of the

officers and others, were policymakers and the Government and police had a policy of

discrimination, and the discrimination was intentional since the officers and others had a duty

and the public entities as well, to create policies and procedures to prevent discrimination based

on disability and therefore, an official policy actually exists for Constitutional violations of the

ADA and Rehabilitation Act by Defendants.

81.    The Defendants Dubie and Eagles refused proper, appropriate and adequate services,

auxiliary aids, or proper commands, and then became annoyed, impatient and perturbed with

Plaintiff, and retaliated against him for his insolent and disrespectful behavior, as they perceived

it, even though they knew or should have known Plaintiff could not understand or hear their

commands and they intentionally and with deliberate indifference, failed and refused to wait for,

or provide, psychological or mental health experts to arrive and assist with providing those

necessary services and programs to Plaintiff regarding his disabilities, or provide a warranted

blood test.

82.    At all times pertinent herein, Defendants knew or should have known of Plaintiff’s

disabilities, but they intentionally or with reckless disregard, refused to communicate with him in

a way he could understand then took improper actions by assaulting him, tasing        him,     back

kneeling on him, lack of medical care, strip searching, body cavity searching, and forcing a

warrantless, penile catheterization on him, and as Defendants knew or should have known that

Plaintiff had said disabilities, yet refused to accommodate and communicate in appropriate

alternative ways.

83.    Mr. Murchie has rights as a “class of one,” equal protection rights, including but not
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limited to denial of medical services, mental health services and urology services.

84.     The Defendants actions in this disability claim by the Governmental entities occurred in

the operation of public service, programs and activities, including transportation, all of which

were violated by Defendants.

85.     There were no exigent circumstances warranting the attacks, or tasing, back kneeling,

denial of medical care, strip searching, body cavity searches, or sexual assaults, of him, or

thereafter forcing of warrantless penile catheterizations on him or otherwise denial of medical

care, considering his mental and physical disabilities and available use of a warranted blood test.

86.     The Defendants actions in this disability discrimination claim by the Government and

City of Fortfield, and police entities occurred in the operation of public services, programs and

activities including transportation, all of which was violated by Defendants.

87.     Mr. Murchie was a qualified individual with a physical and mental disability and

cognitive loss, who, by reason of such disabilities, should not have been excluded from

participation in nor have been denied the benefits of the services, programs, or activities of the

public entities, or been subject to discrimination by any such entity, which violations thereof

occurred against Mr. Murchie by Defendants, by reason of his disability.

88.     The Defendants intentionally, wrongfully, and with deliberate indifference, denied to Mr.

Murchie the programs, services or activities covered by Federal Disability Discrimination Laws

prohibiting discrimination, that were available and due to Plaintiff at all times pertinent.

89.     The actions of Defendants were part of an official custom, policy or practice resulting in

violations of Plaintiff’s rights herein.

90.     Under the Americans with Disabilities Act (ADA), local and State agencies and City
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Government and police agencies are required to give equal access and equally effective services

to people with disabilities which was codified to Defendants in 28 CFR 35.130, and they may not

deny people an opportunity to participate in their programs, or give them an opportunity that is

less effective than the opportunity given to others, which requires police departments to provide

mental health services to a mentally disabled person, or a qualified interpreter, TTY services,

visible warning devices, white board written warnings and instructions, captioned materials and

other auxiliary aids to ensure effective communication with mentally ill or non-cognitive

persons, as noted in 28 CFR §35.160, available to Defendants at all times, as follows:

               a.(1)   A public entity shall take appropriate steps to ensure that communications

                       with applicants, participants, members of the public, and companions with

                       disabilities are as effective as communications with others;…

               b. (1) A public entity shall furnish appropriate auxiliary aids and services where

                       necessary to afford individuals with disabilities, including applicants,

                       participants, companions, and members of the public, an equal opportunity

                       to participate in, and enjoy the benefits of, a service, program, or activity

                       of a public entity;

               b. (2) The type of auxiliary aid or service necessary to ensure effective

                       communication will vary in accordance with the method of

                       communication used by the individual; the nature, length, and complexity

                       of the communication involved; and the context in which the

                       communication is taking place; in determining what types of auxiliary aids

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                       and services are necessary, a public entity shall give primary consideration

                       to the requests of individuals with disabilities; in order to be

                       effective, auxiliary aids and services must be provided in accessible

                       formats, in a timely manner, and in such a way as to protect the privacy

                       and independence of the individual with a disability.

91.    No 11th Amendment immunity exists to the Defendants under the ADA and

Rehabilitation Acts, as Congress abrogated any such immunity that the Defendants might have in

connection with such claims.

92.    Lastly, to the extent applicable, §504 of the Rehabilitation Act and under the ADA, are

noted for violations against Mr. Murchie regarding the medical treatment decisions or lack

thereof, framed within the context and challenge within the disability discrimination context

which occurred here, including inadequate training, supervision, and execution of duties.

93.    No reasonable officer or others could have concluded that assaulting, sexually assaulting

and denying medical care to Jesse Murchie’s person and then forcing warrantless penile

catheterizations, in his further disabled state, were in any way constitutionally or legally justified.

94.    As a direct and proximate result of the of the Defendants’ actions, Mr. Murchie was

deprived of the rights, privileges and immunities secured by the United States Constitution, and

he sustained life-threatening and permanent injuries, both physical, emotional and neuro-

psychological, substantial pain and suffering, embarrassment, humiliation, invasion of privacy,

loss of enjoyment of life and recreational activities, incurred medical costs, loss of earning

capacity and he suffers a permanent impairment, all of which will continue in the future.

       WHEREFORE, Plaintiff, Jesse Murchie, moves that this Honorable Court will grant
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Judgment in his favor, for compensatory damages of $5 million and punitive damages of $10

million, against Defendants in an amount that is just and reasonable, including an award of

attorneys’ fees, and award him any further relief it deems just and proper.

                                           COUNT IV
                                  (Assault/Battery-Defendants)

95.    Plaintiff alleges and realleges Paragraphs 1-94 in the foregoing, and makes them a part of

this Count IV.

96.    The Defendants Dubie and Eagles’ actions against Plaintiff on or about 10/07/2018, were

uninvited, unwelcome and unprovoked, malicious and outrageous as were their prior trespass and

harassment against Plaintiffs.

97.    The Defendants assaulted and battered Plaintiff without his consent, permission or a valid

basis therefore by threatening, accosting him, physically assaulting him, detaining him

improperly and demanding he be criminally charged with a crime, trespassed on his property,

prohibited him from leaving of his own accord and bullying, detaining and tasing Plaintiff, back

kneeling on him, denying medical care, strip searching and forcibly conducting a warrantless

penile catheterization of him, bombing and they intended to cause harmful or offensive contact

to Plaintiff, and to punish and humiliate him for insolvent and disrespectful behavior; they had

also previously trespassed and harassed Plaintiffs at their home.

98.    As a direct and proximate result of the assault and battery of Plaintiff by Defendants,

Plaintiff has been seriously damaged and injured, as aforesaid.

99.    All prerequisites to the maintenance of this claim as set forth in 14 M.R.S.A.§§8101    et

seq., have been satisfied or have occurred.

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        WHEREFORE, Plaintiff, Jesse Murchie, moves that this Honorable Court will grant

Judgment in his favor, against Defendants in an amount that is just and reasonable, $5 million in

compensatory damages and $10 million in punitive damages, and award him any further relief it

deems just and proper.

                                           COUNT V
                                    (Negligence-Defendants)

100.    Plaintiff alleges and realleges Paragraphs 1-99 in the foregoing, and makes them a part of

this Count V.

101.    The Defendants Dubie and Eagles owed a duty of care to Mr. Murchie to exercise

reasonable care in the execution of their duties as police officers, for his medical care, and as

Government agents, including properly assessing the incident including Murchie and his rights

and necessity to properly assess his arrest, and obtaining evidence, none of which was properly

done.

102.    The Defendants, and each of them, knew or should have known that their failure to

exercise due care, individually and in the performance of their duties towards Plaintiff, and their

negligent and improper provocation of an injured and mentally disabled, man by use of tasers,

physical force, back kneeling, denial of medical care, strip searching, body cavity searching, and

warrantless forced penile catheterizations, and creating chaos and severely aggravating his

disabled condition as part of that provoking, would cause the Plaintiff to   be   subjected     to

physical injuries, and to suffer severe emotional distress and other damages.

103.    The acts of the Defendants in causing the injuries, damages, and the severe emotional

distress of the Plaintiff, constitute a breach of their duty of care toward Plaintiff, by using

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excessive force against him in lieu of taking other forms of action.

104.   The Defendants’ also negligently failed to follow the “Protocol for the Investigation of the

Use of Deadly Force” standards, as required under Maine Law, and consistent with the “Maine

Law Enforcement Officers Manual”, and other Standard Operating Procedures and Law

Enforcement Standards, or medical protocols for such care and testing.

105.   Defendants were negligent in their failure to properly hire, train, supervise and control

Defendants’ conduct, and, their use and operation of vehicles, equipment, penile catheters and

tasers, dealing with the disabled, and the entire operation on or about 10/07/2018, and thereafter.

106.   The Defendants’ alleged violations of Maine Criminal Code, including, but not limited to

the following, and included as factual evidence of wrongdoing, also constitute violations of

standards of care, and negligence, including:

       a)      §253-Gross Sexual Assault;

       b)      §255-A-Unlawful Sexual Contact;

       c)      §260-Unlawful Sexual Touching;

       d)      §302-Criminal Restraint;

       e)      §207-Assault;

       f)      §208-Aggravted Assault;

       g)      §209-Criminal Threatening;

       h)      §210-Terrorizing;

       i)      §211-Reckless Conduct.

107.   As a direct and proximate result of the Defendants’ breach of duty and the consequences

proximately caused by it, Mr. Murchie suffered severe personal injuries, both physical and
                                                                                                29
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emotional, all as aforesaid.

108.   All prerequisites to the maintenance of this claim as set forth in 14 M.R.S.A.§§8101         et

seq., have been satisfied or have occurred.

       WHEREFORE, Plaintiff, Jesse Murchie, moves that this Honorable Court will grant

Judgment in his favor, against Defendants in an amount that is just and reasonable, $5 million in

compensatory damages and $10 million in punitive damages, and award him any further relief it

deems just and proper.

                                             COUNT VI
                             (Negligent Infliction of Emotional Distress)

109.   Plaintiff alleges and realleges Paragraphs 1-108 in the foregoing, and makes them a part

of this Count VI.

110.   The actions of Defendants Dubie and Eagles were so offensive, vile, malicious and

directed at Plaintiff to injure him, that he suffered emotional distress that a reasonable person

could be expected         to be harmed thereby, his privacy was so invaded, he became ill, his

injuries will continue into the future and Defendants knew or should have known Plaintiff would

be so effected by their misconduct.

111.   As a direct and proximate result of the abuse of Plaintiff by Defendants, Plaintiff has

been seriously damaged, he suffered severe physical and emotional damages, all of which will

continue in the future.

112.   All prerequisites to the maintenance of this claim as set forth in 14 M.R.S.A.§§8101         et

seq., have been satisfied or have occurred.

       WHEREFORE, Plaintiff, Jesse Murchie, moves that this Honorable Court will grant

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Judgment in his favor, against Defendants in an amount that is just and reasonable, $5 million in

compensatory damages and $10 million in punitive damages, and award him any further relief it

deems just and proper.

                                           COUNT VII
                          (Intentional Infliction of Emotional Distress)

113.   Plaintiff alleges and realleges Paragraphs 1-112 in the foregoing, and makes them a part

of this Count VII.

114.   On or about 08/27/2018 through 10/07/2018 and thereafter, without Plaintiff’s permission or

consent, Defendants illegally trespassed on Plaintiffs’ property in Fort Fairfield, Maine, and on

10/07/2018 arrested him, conducted warrantless search of his car, tased him, back kneeled on him,

detained him without medical care, and then they forced medical personnel to conduct a force,

warrantless, penile catheterization of him, and strip search, all while he was mentally and physically

disabled, concussed and non-cognitive, causing him severe and significant injuries and damages,

and emotional injuries.

115.   At various other times, Defendants were physically assaultive, verbally abusive to the

Plaintiff, battered him, threatening injury to him, and damage to him and his family and harassed

him without jurisdiction, and otherwise Chief Newell and Manager Riser condoned and allowed the

misconduct.

116.   On or about 10/07/2018, without Plaintiff’s permission or consent, at his Fort Fairfield

residence, Defendants Dubie and Eagles made explicit and degrading comments to Plaintiff, they

relentlessly harassed Plaintiff with words and gestures, blocked his path of travel or restrained his

free travel, threatened injury to Plaintiff and his family; assaulted him, tased him, back kneeled on

                                                                                                  31
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him, handcuffed and shackled him, detained him without medical care and then strip searched and

forced warrantless penile catheterizations of him, causing Plaintiff significant and severe injuries,

damages and emotional injuries.

117.      Defendants, by their extreme and outrageous conduct against Plaintiff, did intentionally or

recklessly cause severe emotional distress to Plaintiff including times when they were inflicting

bodily harm to him, and it was certain or substantially certain that such distress would result.

118.      The conduct of Defendants was so extreme and outrageous as to exceed all bounds of

decency and it must be regarded as atrocious and utterly intolerable in a civilized society; they did

so in part to retaliate and punish him for insolent and disrespectful behavior.

119.      The emotional distress suffered by Plaintiff was so severe that no reasonable person could

be expected to tolerate it.

120.      As a direct and proximate result of the actions of the Defendants and their breach of duty to

Plaintiff, Plaintiff suffered severe personal injuries, both physical and emotional, he incurred

medical bills, lost earning capacity, underwent great pain and suffering, embarrassment, humiliation

and invasion of privacy, and he suffers a permanent impairment, all of which will continue in the

future.

121.      The actions of the Defendants were willful, wanton, malicious and intended to cause severe

harm and injury to Plaintiff and were beyond all bounds of decency in a civilized society, mandating

punitive damages.

122.      All prerequisites to the maintenance of this claim as set forth in 14 M.R.S.A.§§8101       et

seq., have been satisfied or have occurred.

          WHEREFORE, Plaintiff, Jesse Murchie, requests judgment against Defendants for $5
                                                                                                   32
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million in compensatory damages and $10 million in punitive damages, and for whatever

amounts are just and reasonable, plus his interest and costs incurred.

                                       COUNT VIII
 (Negligent Failure to Protect Rights of Mentally Ill Person, in Violation of 34-B M.R.S.A.
              §§3801, 3805, 3862, et seq and Prohibited Acts and Negligence)

123.   Plaintiff alleges and realleges Paragraphs 1-122 in the foregoing, and makes them a part

of this Count VIII.

124.   At all times pertinent herein, Jesse Murchie was a “mentally ill person”, and suffered

from the “inability to make an informed decision”, as defined under Maine Law in 34-B

M.R.S.A. §3801(5), (10).

125.   At all times pertinent herein, Law Enforcement officials including Defendants Dubie and

Eagles, were at the home of Jesse Murchie, on 10/07/2018, for nearly 2-hours, knew or should

have known that Jesse Murchie was a mentally ill person and suffered the inability to make an

informed decision, and subsequent to the attack, tasing and shackles of him, that he was further

bodily injured, both physically and mentally, that he could not hear, was concussed and non-

cognitive due to       the physical injuries and the effects.

126.   Law Enforcement officials, including Defendant Governmental Agencies, supervisors

and individuals, were required by Maine Law and pursuant to 34-B M.R.S.A. §§3801, 3801(4-

A), et seq, to protect Jesse Murchie from the “likelihood of serious harm,” due to:

               A.      A substantial risk of physical harm to the person as manifested by recent

                       threats of, or attempts at, suicide or serious self-inflicted harm;

               B.      A substantial risk of physical harm to other persons as manifested by

                       recent homicidal or violent behavior or by recent conduct placing others
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                       in reasonable fear of serious physical harm;

               C.      A reasonable certainty that the person will suffer severe physical or

                       mental harm as manifested by recent behavior demonstrating an inability

                       to avoid risks or to protect the person advocating from impairment or

                       injury; or

               D.      For the purposes of 3873-A, in view of the person’s treatment history,

                       current behavior and inability to make an informed decision, a reasonable

                       likelihood that the person’s mental health will deteriorate and that the

                       person will in the foreseeable future, pose a likelihood of serious

                       harm as defined in paragraphs A, B or C.

127.   At all times pertinent herein, under §3862(1), Law Enforcement and Defendants, had

probable cause to believe that Jesse Murchie may be mentally ill and that due to that condition he

presented a threat of imminent and substantial physical harm to himself or to other persons and

the Law Enforcement officer could act as follows:

               a.      May take the person into protective custody; and

               b.      If the Law Enforcement officer does take the person into protective custody,

                       shall deliver the person immediately for examination by a medical

                       professional as provided in Section 3863….

128.   When formulating probable cause, the Law Enforcement officer may rely upon information

provided by a third party informant if the officer confirms that the informant has reason to believe,

based upon those informants recent personal observations of or conversations with a person, that

the person may be mentally ill and that due to that condition the person presents a threat of
                                                                                                  34
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imminent and substantial harm to that person or to other persons, all of which Defendants had here.

129.   It is a prohibited act in the State of Maine, pursuant to 34-B M.R.S.A. §3805(2), for a

person to cause a willful denial of rights to Jesse Murchie, as a person, of the rights accorded to him

by the rights and protections afforded him under the subchapter.

130.   The Defendants owed a duty of care to Jesse Murchie to comply with 34-B M.R.S.A.

§§3801, et seq, by protecting him as a mentally ill person who was unable to make informed

decisions, to keep him from harm, to consult with proper medical professionals to assist Jesse

Murchie, and otherwise protect him from serious harm, as required by law.

131.   At all times pertinent herein, Defendants’ negligently and willfully failed to follow the

mandates of 34-B M.R.S.A. §§3801, et seq, and under the general and common law, and by

negligence, caused Jesse Murchie serious bodily injuries, both physical and mental, for which he

continues to suffer great pain and suffering, loss of enjoyment of life and recreational activities, and

he suffers a permanent impairment and other great losses, harm and damages.

132.   As a direct and proximate result of the actions of the Defendants and their breach of duty to

Plaintiff, Plaintiff suffered severe personal injuries, both physical and emotional, he incurred

medical bills, lost earning capacity, underwent great pain and suffering, and he suffers a permanent

impairment, all of which will continue in the future.

133.   All prerequisites to the maintenance of this claim as set forth in 14 M.R.S.A.§§8101           et

seq., have been satisfied or have occurred.

       WHEREFORE, Plaintiff, Jesse Murchie requests judgment against Defendants $5 million

in compensatory damages and $10 million in punitive damages, and for whatever amounts are

just and reasonable, plus his interest and costs incurred.
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                                         COUNT IX
       (Violations and Interference with Maine Constitution and Maine Civil Rights Act
                                          Violations)

134.    Plaintiff alleges and realleges Paragraphs 1-133 in the foregoing, and makes them a part

of this Count IX.

135.    At all times pertinent herein, the Governmental and police actors described above, as well

as others unknown at this time, were acting under color of State, municipal or police authority,

and deprived Jesse Murchie of his Federal rights, and State rights.

136.    The Government and police policies were the moving force behind their actions,

including, but not limited to, the use of Tasers, physical force, including knees to the back, also

including forced warrantless penile catheterizations, and strip searching, body cavity searches,

denial of medical care and devices on citizens of Maine and their property.

137.    No objectively reasonable police officer, medical person or Government official could

have reasonably believed their conduct did not violate the Maine Constitution, including, but not

limited to the sections noted herein, and others, as well as U.S. Constitutional violations.

138.    The Government and police actors’ actions clearly violated established rights of which an

objectively reasonable official would have known.

139.    A reasonable official or person should have known that the challenged conduct violated

established rights.

140.    The Defendants all failed to consider the following:

               a.      The facts and circumstances of this case, including the level of crime

                       alleged and its severity, to wit, traffic infractions;

               b.      whether split-decision making was involved or delays were available to
                                                                                                36
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                   police, the mental health of the arrestee, including his bizarre or irrational

                   actions, confirming his lack of mental competence, alternative methods of

                   less severe and drastic deadly force of a nature available to Law

                   Enforcement to otherwise effect an arrest, and warranted blood test;

             c.    and the totality of circumstances involved in the use of deadly force by use

                   of Tasers, back kneeling, strip searches, denial of medical care, physical

                   force, shackles and forced warrantless penile catheters, provoking a

                   mentally disabled, white male, assaulting Jesse Murchie, rather than

                   waiting for assistance from mental health or medical professionals, or

                   other experts to analyze and decide the least deadly force method to use,

                   including warranted blood tests;

             d.    After assaulting and failing to assist him with his injuries and disabilities;

             e.    Failure to assist him after the assaults, knowing that he could not

                   understand, was concussed and non-cognitive, yet shackled and assaulted

                   him after using three (3) Tasers against him, then denying medical

                   services and employing a forced, warrantless, penile catheterization;

             f.    All done against him without adequate or proper warnings, necessity or

                   warrants.

             g.    under all the circumstances and available resources, and less

                   confrontational tactics, and de-escalation methods should have been used,

                   including warranted blood tests.

141.   Further, the Government Agencies involved, by use of Tasers and shackles, back
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kneeling, to effect arrests, and then employ strip searches, body cavity searching and forced

penile catheterizations of mentally incompetent persons, did through its policies, approvals,

purchases, training and use thereof, maintained and condoned a custom and practice of

depriving individuals of their Constitutional Rights by their traditions, policies, ordinances,

statutes, manuals and actions, promulgated by Law Enforcement of the agencies, and

Governments involved.

142.   The actions of the officers, and other personnel as their agents, and Government manager,

and their omissions, before, during   and after the arrest and penile catheterization of Jesse

Murchie person and property, constituted a conspiracy against Jesse Murchie, in violation of

Federal and State Law.

143.   Further, any of the officers and other personnel having knowledge that wrongs against

Jesse Murchie were occurring, including §1985 violations, with the power to prevent or aid

against the wrongs, and neglecting to do so, are guilty of the violations as well, including refusal

to investigate the wrongdoing and stop it from occurring.

144.   The officers and Defendants, knew or should have known that Jesse Murchie was

mentally incompetent, or a mentally ill person, and not capable of making informed choices,

acting in a bizarre manner, and that he was suffering some kind severe      mental     breakdown,

which as a white male, placed him in a protected class-base of protected persons, and here the

officers and medical personnel had a tacit understanding that they would carry out the assaults

and penile catheterizations, notwithstanding other less lethal means available to them, and they

were motivated by the class-based invidious discrimination and animus behind the conspiracy

actions, due to Jesse Murchie’s class-based status as a white male with severe mental health
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disorders, all of which involved the conspiracy, for the purpose of depriving Jesse Murchie of

due process and equal protection and equal privileges and immunities, involving an overt act or

acts in furtherance of the conspiracy, resulting in injury to Jesse Murchie and his property and

otherwise retaliation against him for insolent and disrespectful behavior.

145.   Each of the officers’ and Government personnel’s’ acts and omissions before, during and

after the attacks and activities, constitute a conspiracy against Jesse Murchie, and were malicious

and outrageous, or were so outrageous that malice can be implied and considered more than a

reckless disregard for Mr. Murchie; as Defendants knew of the dangers and protected

themselves, rather than Murchie without warning to Mr. Murchie.

146.   To the extent law enforcement extended or exacerbated the situation to create and/or use

the incident as a training exercise for police and others, is a further violation of Jesse Murchie’s

rights, and further evidence of Defendants wrongdoing.

147.   The police and Government personnel became impatient, angry, upset, unwilling to wait

for a Mental Crisis Team, and because Jesse Murchie was exercising his right to protect himself

or exercise his Constitutional rights, exacerbated their wrongs against Jesse Murchie and to the

point of attacking him as a retaliatory method, including use of a   forced   warrantless    penile

catheterization, as form of humiliation.

148.   It was not objectively reasonable to use excessive force against Jesse Murchie.

149.   It was cruel and abusive to treat a mentally ill man, and/or physically injured man, caused

by police and others, to wit, Jesse Murchie, in the manner he was treated, and contrary to law.

150.   The officers and other personnel as their agents, were not properly discharging their

duties, and making the activity a training exercise was Constitutionally impermissible, including
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involvement of multiple Government Agencies and police, was outrageous.

151.   Further, the Government Agencies involved failed to issue widely accepted and non-

lethal means by which to apprehend Jesse Murchie, a mentally ill person, such as tear gas,

mental health experts, pepper-spray, chemical mace, or other non-deadly means of physical

force, including throw phones, and warranted blood tests, and as is part of the training of the

officers involved, also acted not in accordance with the “protocol for the   reporting          and

investigation of the use of deadly force,” in the Maine Law Enforcement Officers Manual, and

other applicable standards of care, and hospital standards, including adequate and appropriate

warnings before inflicting deadly force upon him.

152.   All officers and other personnel as agents, had the affirmative duty to intervene and

prevent the unlawful use of force by others, used in this action against Jesse Murchie.

153.   The Government Agencies, supervisors and Law Enforcement Officers had no right to

use Jesse Murchie as “a human guinea pig”, to effect their fully executed training mission to

assault a mentally and physically disabled man by use of a forced warrantless penile

catheterization, to advance their conspiracy against a mentally ill, white male.

154.   Defendants used Unconstitutional Excessive Force a) by use of Tasers, shackles, physical

force, including knee to the back, or otherwise to provoke Plaintiff; b) by use of a delay in

medical treatment, c) by using excessive force with a forced warrantless penile catheterization

and strip search and body cavity search, d) failure to consider less destructive or invasive means

of effecting the arrest or custody or testing of Jesse Murchie, including blood tests, e) failure to

consult with experts before using forced warrant penile catheterizations, f) failure to consult with

a urology expert before using catheterization on Plaintiff, g) failure to consider injuries to Jesse
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Murchie including concussive, disorienting effects of physical injuries on him, and his

subsequent acts        after injuries to understand his actions rather than shackling in the police

car and denying him medical care, h) failure to consult and consider mental health or medical

experts to use alternative means of effecting arrest, obtaining evidence, including warranted

blood tests, j) failure to use deescalating use of force for mentally ill or physically injured

arrestee; k) converting a T.34-B matter into a training exercise for police and hospital staff and

others; l) failure to provide adequate and appropriate warnings to Mr. Murchie; m) humiliating

Mr. Murchie; n) retaliating for insolent and disrespectful behavior.

155.   Defendants violated the parameters of the warrantless arrest and/or warrantless search by

searching and seizing evidence in his car, and then shackling him in the police car and denying

medical care to him and then conducting a strip search, body cavity search, and forced

warrantless penile catheterization of him without proper warnings or commands.

156.   The Defendants violated 5 M.R.S.A. §§4682, (1-A) et seq (Maine Civil Rights Act),

Since the Defendants acting under color of law, intentionally interfered or attempted to

intentionally interfere by physical force or violence against Mr. Murchie, and caused damages or

destruction of his property or trespassed on his property or by the threat of physical   force   or

violence against him, caused damage or destruction of his property or trespass on property with

the exercise and enjoyment by any other person of rights secured by the United States

Constitution or the laws of the United States or of rights secured by the Constitution of Maine or

laws of the State, or violates section 4684-B, the person whose exercise or enjoyment of these

rights has been interfered with, or attempted to be interfered with, all of which occurred here and

Mr. Murchie files this civil action for legal and equitable relief.
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157.    Further, Defendants violated the following provisions of Me. Const., Art. I,

                Sections:        §1-    “Natural rights-defending life, liberty and protecting
                                        property and safety;”

                                 §5-    “Unreasonable search and seizures;”

                                 §6-    “Rights of persons accused;”

                                 §6-A “Discrimination against persons prohibited;”

                                 §9-    “Cruel and unusual punishment prohibited;”

                                 §19-   “Right to redress for injuries, to person, reputation, property
                                        or immunities;”

                                 §21-   “Private property, when to be taken, just compensation;”

                                 §24-   “Other rights not impaired;”


158.    The Defendants interfered with Plaintiff’s Constitutional and Civil Rights as they

violated the prohibitions stated in 17 M.R.S.A. §2931, since a person may not, by force or threat

of force, intentionally injure, intimidate or interfere with, or intentionally attempt to injure,

intimidate or interfere with or intentionally oppress or threaten any other person in     the       free

exercise or enjoyment of any right or privilege, secured to that person by the Constitution of Maine

or laws of the State or by the United States Constitution or laws of the United States, and

Defendants did in fact do so against Plaintiff with the intention to do so and with deliberate

indifference to Plaintiff’s rights.

159.    The actions of Defendants constituted unnecessary excessive deadly force, including the

definition in 17-A M.R.S.A. §521(8), and was not justified by §101(5)(A),(B), or otherwise; and

including, but not limited to alleged violations of the Maine Criminal Code, also including but

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not limited to the following acts of wrongdoing:

               a.      §253-Gross Sexual Assault;

               b.      §255-A-Unlawful Sexual Contact;

               c.      §260-Unlawful Sexual Touching;

               d.      §302-Criminal Restraint;

               e.      §207-Assault;

               g.      §208-Aggravted Assault;

               h.      §209-Criminal Threatening;

               i.      §210-Terrorizing;

               j.      §211-Reckless Conduct.

160.   The Plaintiff seeks legal and equitable relief against Defendants for his damages,

including a permanent injunction against Defendants from further entry onto his property, denial

of his rights, prohibiting Defendants from use of forced warrantless penile catheterization   of

others and for his damages, attorneys’ fees and costs, interest, and other damages as may be

warranted.

161.   As a direct and proximate result of the actions of Defendants, Plaintiff has been damaged

as aforesaid, for which he is entitled to compensatory and punitive damages, attorneys’ fees and

costs and other legal and equitable relief.

162.   All prerequisites to the maintenance of this claim as set forth in 14 M.R.S.A.§§8101   et

seq., have been satisfied or have occurred.

       WHEREFORE, Plaintiff, Jesse Murchie requests judgment against Defendants for $5

million in compensatory damages and $10 million in punitive damages and equitable relief and
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for whatever amounts are just and reasonable, plus his interest, fees and costs incurred.


                                            COUNT X
                                          (Medical Care)

163.   Plaintiff alleges and realleges Paragraphs 1-162 in the foregoing, and makes them a part

of this Count X.

164.   Plaintiff, Jesse Murchie makes claim against Defendants for payment of all medical and

health care related expenses incurred by him, as a result of these injuries.

165.   As a direct and proximate result of the willful and negligent acts of the Defendants,

       Plaintiff has been damaged.

166.   All prerequisites to the maintenance of this claim as set forth in 14 M.R.S.A.§§8101          et

seq., have been satisfied or have occurred.

       WHEREFORE, Plaintiff, Jesse Murchie, demands judgment against Defendants for

compensatory damages for whatever sums are reasonable in the premises, plus his interest and costs

incurred.

                                           COUNT XI
                                     (Spoliation of Evidence)

167.   Plaintiff alleges and realleges Paragraphs 1-166 in the foregoing, and makes them a part

of this Count XI.

168.   The Defendants improperly destroyed evidence, and the property of Jesse Murchie, resulting

in a denial of due process and a fair trial to Jesse Murchie, and they are liable for spoliation of

evidence, failure to secure the evidence, failure to properly document the area, loss or destruction of

property, and failure to preserve evidence and the cover-up of the evidence at his property, or in the

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police car, or in the hospital.

169.    This cause of action includes all Defendants and the police and supervisors, which on

information, acted as agents for the City of Fairfield and other Defendants in the destruction and

cover-up of evidence and property.

170.    As a direct and proximate result of the willful and negligent acts of the Defendants,

Plaintiff has been damaged.

171.    All prerequisites to the maintenance of this claim as set forth in 14 M.R.S.A.§§8101         et

seq., have been satisfied or have occurred.

        WHEREFORE, Plaintiff, Jesse Murchie, demands judgment against Defendants for

compensatory damages of $5 million dollars and punitive damages of $10 million dollars for

whatever sums are reasonable in the premises, including evidentiary inferences against Defendants,

plus his interest and costs incurred.

                                           COUNT XII
                       (Invasion of Privacy-Intrusion on Personal Seclusion)

172.    Plaintiff alleges and realleges Paragraphs 1-171 in the foregoing, and makes them a part

of this Court XII.

173.    When the Defendants Dubie and Eagles forced the strip search. body cavity search, and

forced warrantless penile catheterizations of Plaintiff Jesse Murchie, they exposed his genitalia

and improperly touched him, forced two (2) catheterizations on him after a female nurse

unzipped his pants in front of at least two (2) other female nurses and two (2) police officers,

without his permission, informed consent or right to do       so, all as demanded and ordered by

the police officers.

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174.   The Defendants intentionally, willfully and maliciously intruded, physically or otherwise,

upon the solitude, seclusion and privacy of Jesse Murchie, in his private affairs or concerns     and

existence as a person, for which Defendants are liable for invasion of        privacy,    since   the

intrusion would be highly offensive to a reasonable person.

175.   As a direct and proximate result of the willful and intrusive acts of the Defendants,

Plaintiff has been damaged including substantial humiliation, embarrassment, physical and

emotional injuries, all of which will continue in the future.

       WHEREFORE, Plaintiff, Jesse Murchie requests judgment against Defendants for $5

million in compensatory damages and $10 million in punitive damages and equitable relief and

for whatever amounts are just and reasonable, plus his interest, fees and costs incurred.

                                          COUNT XIII
                                       (Vicarious Liability)

176.   Plaintiff alleges and realleges Paragraphs 1-175 in the foregoing, and makes them a part

of this Court XIII.

177.   The municipal Defendants used the Fort Fairfield Police Department and the police and

others, as agents, and they are vicariously liable for all other Defendants’ tortious actions.

178.   All prerequisites to the maintenance of this claim as set forth in 14 M.R.S.A.§§8101        et

seq., have been satisfied or have occurred.

       WHEREFORE, Plaintiff, Jesse Murchie requests judgment against Defendants for $5

million in compensatory damages and $10 million in punitive damages and equitable relief and

for whatever amounts are just and reasonable, plus his interest, fees and costs incurred.

                                       COUNT XIV
                (Loss of Consortium and Emotional Distress-Deanna Murchie)
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179.   Plaintiff alleges and realleges Paragraphs 1-178 in the foregoing, and makes them a part

of this Court XIV.

180.   At all times pertinent herein, Plaintiff Deanna Murchie, wife of Jesse Murchie, was an

eyewitness to the excessive force, abuse, assault, battery and other wrongs perpetuated against

her husband, Jesse Murchie, in the yard of her house, by Defendants Dubie and Eagles, including

threats against her by Dubie and in the presence of Eagles who did not intervene nor prevent the

wrongdoing, all of which caused her severe emotional distress, so profound that no reasonable

person could be expected to by bound thereby; also, she was an eyewitness to the trespass and

harassment of Plaintiffs by Defendants in the past.

181.   The Plaintiff Deanna Murchie has suffered a loss of consortium with her husband Jesse

Murchie directly caused by the misconduct of the Defendants.

182.   As a direct and proximate result of the negligence and other misconduct of the

Defendants, Plaintiff Deanna Murchie has been severely damaged.

       WHEREFORE, Plaintiff, Deanna Murchie requests judgment against Defendants for $5

million in compensatory damages and $10 million in punitive damages and equitable relief and

for whatever amounts are just and reasonable, plus her interest, fees and costs incurred.


Dated at Bangor, Maine
August 21, 2020                              /s/ N. Laurence Willey, Jr., Esq. #808
                                             N. Laurence Willey, Jr., Esq. #808
                                             Attorney for Plaintiffs
                                             WILLEY LAW OFFICES
                                             P.O. Box 924
                                             Bangor, ME 04402-0924
                                             (207) 262-6222

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Dated at Bangor, Maine
August 21, 2020                   /s/ Ezra A. R. Willey, Esq. #5025
                                  Ezra A.R. Willey, Esq. #5025
                                  Attorney for Plaintiffs
                                  WILLEY LAW OFFICES
                                  P.O. Box 924
                                  Bangor, ME 04402-0924
                                  (207) 262-6222




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